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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 GEORGE ANIBOWEI,                                          §
          Plaintiff,                                       §
                                                           §
 v.                                                        §    Civil Action No. 3:16-CV-3495-D
                                                           §
 JEFFERSON B. SESSIONS, et al.,1                           §
           Defendants.                                     §

        SUPPLEMENTAL FINDINGS, CONCLUSIONS, AND RECOMMENDATION

            By Memorandum Opinion and Order dated March 27, 2018 (doc. 26), this case was re-

 referred for recommendation concerning the plaintiff’s claims for injunctive relief against the federal

 defendants in their official capacities. Based on the relevant filings and applicable law, the

 plaintiff’s claims for injunctive relief should be DISMISSED with prejudice.

                                               I. BACKGROUND2

            On December 23, 2016, George Anibowei (Plaintiff) filed suit seeking, in part, injunctive

 relief under the Constitution for alleged violations of his First and Fourth Amendment rights during

 a border search on October 10, 2016. (doc. 1 at 1-3.)3 He named the U.S. Attorney General,

 Director of the Federal Bureau of Investigation, Director of the Terrorist Screening Center, Director

 of the National Counterterrorism Center, Secretary of the Department of Homeland Security,

 Commissioner of the United States Customs and Border Protection Agency, Administrator of the

 United States Transportation Security Administration, and the Director of the United States


        1
           Jefferson B. Sessions succeeded Loretta Lynch, Christopher Wray succeeded James Comey, Elaine Duke
succeeded Jeh Johnson, Kevin K. McAleenan succeeded Gil Kerlikowske, David P. Pekoske succeeded Peter Neffenger,
and Thomas D. Homan succeeded Sarah Saldana. Under Rule 25(d) of the Federal Rules of Civil Procedure, each
successor “is automatically substituted as a party.”
        2
             The facts are more fully set out in the original Findings, Conclusions, and Recommendation. (See doc. 19.)
        3
           Citations to the record refer to the CM/ECF system page number at the top of each page rather than the page
numbers at the bottom of each filing.
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Immigration and Customs Enforcement Agency (Defendants) in their official capacities only. (doc.

8 at 1, 4-5.)

        Plaintiff alleges that he frequently flies internationally and has been referred for secondary

inspection, detained, and questioned by United States Customs and Border Protection (CBP) agents

on many occasions. (docs. 8 at 7-8; 17 at 8.) On October 10, 2016, he flew from Canada to the

United States, and upon arrival at the Dallas/Fort Worth International Airport (DFW), CBP agents

escorted him to an interrogation room. (docs. 8 at 2, 12; 17 at 9.) The agents detained and

questioned him for approximately two hours and “seized and detained” his cell phone for

“examination and copying.” (doc. 8 at 2, 14.) They then returned Plaintiff’s cell phone and released

him without indicating “what information had been copied from his cell phone, what agencies or

individuals would have access to any copies made, and whether any such copies would ultimately

be destroyed or stored.” (Id. at 14-15.) After filing suit, Plaintiff was again referred for secondary

inspection, detained, and questioned by CBP agents while his cell phone, luggage, and carry-on bag

were searched. (Id. at 15-16.) He seeks an order requiring Defendants (1) to return all information

retrieved from his cell phone or, if the information cannot be returned, to expunge or destroy that

information; and (2) to disclose whether the information obtained from his cell phone was disclosed

to other agencies and, if so, what information was disclosed and in what form. (Id. at 2-3, 19-20.)

        On December 15, 2017, it was recommended that Plaintiff’s claims be dismissed. (See doc.

19.) After the parties objected to the recommendation, it was adopted in part, and the case was re-

referred to address the merits of one objection concerning Plaintiff’s claims for injunctive relief

against Defendants in their official capacities. (See doc. 26 at 1, 3.)




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                                          II. RULE 12(b)(1)

        Plaintiff’s claim for injunctive relief against Defendants in their official capacities implicates

sovereign immunity, which goes to subject-matter jurisdiction and is properly addressed under Rule

12(b)(1). Garcia v. United States, No. 3:14-CV-357-L, 2015 WL 1810451, at *2 (N.D. Tex. Apr.

20, 2015) (addressing sovereign immunity under Rule 12(b)(1)); Maibie v. United States, No. 3:07-

CV-0858-D, 2008 WL 4488982, at *2–3 (N.D. Tex. Oct. 7, 2008) (Fitzwater, J.) (same).

        Federal courts are courts of limited jurisdiction; without jurisdiction conferred by the

Constitution and statute, they lack the power to adjudicate claims. Kokkonen v. Guardian Life Ins.

Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted). They “must presume that a suit lies

outside this limited jurisdiction, and the burden of establishing federal jurisdiction rests on the party

seeking the federal forum.” Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). When

a court dismisses for lack of subject matter jurisdiction, the dismissal “is not a determination of the

merits and does not prevent the plaintiff from pursuing a claim in a court that does have proper

jurisdiction.” Id.

A.      Legal Standard

        A district court may dismiss for lack of subject matter jurisdiction based on (1) the complaint

alone; (2) the complaint supplemented by undisputed facts in the record; or (3) the complaint

supplemented by undisputed facts plus the court’s resolution of disputed facts. Williamson v.

Tucker, 645 F.2d 404, 413 (5th Cir. 1981). A motion to dismiss based on the complaint alone

presents a “facial attack” that requires the court to merely decide whether the allegations in the

complaint, which are presumed to be true, sufficiently state a basis for subject matter jurisdiction.

See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1998). “If sufficient, those allegations


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alone provide jurisdiction.” Id.

        Here, Defendants’ Rule 12(b)(1) motion to dismiss relies on Plaintiff’s amended complaint,

and therefore presents a facial attack that does not require resolution of matters outside the

pleadings. See Bridgewater v. Double Diamond–Delaware, Inc., 3:09-CV-1758-B, 2010 WL

1875617, at *5 (N.D. Tex. May 10, 2010); Lester v. Lester, No. 3:06-CV-1357-BH, 2009 WL

3573530, at *4 (N.D. Tex. Oct. 29, 2009).

B.      Sovereign Immunity

        As noted, Plaintiff sues Defendants in their official capacities only. (See doc. 8 at 1, 4-5.)

Lawsuits against federal employees in their official capacities are treated as lawsuits against the

United States. See Ischy v. Miles, 75 F. App’x 257, 258 (5th Cir. 2003) (citing Kentucky v. Graham,

473 U.S. 159, 166 (1985)). Suits against the United States are generally barred by sovereign

immunity. Id. (citing Affiliated Prof’l Home Health Care Agency v. Shalala, 164 F.3d 282, 286 (5th

Cir. 1999)). “The basic rule of federal sovereign immunity is that the United States cannot be sued

at all without the consent of Congress.” Block v. N.D. ex rel. Bd. of Univ. & Sch. Lands, 461 U.S.

273, 287 (1983). “Absent a waiver, sovereign immunity shields the Federal Government and its

agencies from suit.” FDIC v. Meyer, 510 U.S. 471, 475 (1994). Since federal sovereign immunity

is jurisdictional in nature, the consent or waiver must be unequivocally expressed. Freeman v.

United States, 556 F.3d 326, 335 (5th Cir. 2009). The terms of the consent or waiver define the

jurisdictional boundaries to entertain the suit. Meyer, 510 U.S. at 475. In general, the scope of a

waiver of sovereign immunity is strictly construed “in favor of the sovereign.” Gomez–Perez v.

Potter, 553 U.S. 474, 491 (2008). Plaintiff has the burden to show an “unequivocal waiver of

sovereign immunity.” St. Tammany Parish ex rel. Davis v. FEMA, 556 F.3d 307, 315 (5th Cir.


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2009).

         The Supreme Court has held that suits seeking injunctive relief directly against individual

officers in their official capacities may not be barred by sovereign immunity in certain

circumstances, however. See Larson v. Domestic & Foreign Exch. Corp., 337 U.S. 682, 689–91

(1949) (recognizing exceptions to sovereign immunity for suits seeking injunctive relief directly

against federal officers in their official capacities); see also Bell v. Hood, 327 U.S. 678, 684 (1946)

(“[I]t is established practice for this Court to sustain the jurisdiction of federal courts to issue

injunctions to protect rights safeguarded by the Constitution”); Porter v. Califano, 592 F.2d 770, 781

(5th Cir. 1979) (stating that individuals “have a right to sue directly under the [C]onstitution to

enjoin . . . federal officials from violating [their] constitutional rights.”). “Such actions are based

on the grant of general federal question jurisdiction under 28 U.S.C. § 1331 and the inherent equity

powers of the federal courts.” Rhode Island Dep’t of Envtl. Mgmt. v. United States, 304 F.3d 31,

41 (1st Cir. 2002).

         An individual can bring suit “for specific relief against officers of the sovereign” in their

official capacities in only two circumstances: (1) when the officer acts outside of his or her delegated

statutory power; or (2) when the officer acts pursuant to a statute or order that “is claimed to be

unconstitutional.” Larson, 337 U.S. at 689–91, 701; see also Simons v. Vinson, 394 F.2d 732, 736

(5th Cir. 1968) (recognizing the two exceptions to sovereign immunity). The first is an “ultra vires

exception to sovereign immunity,” and the latter is a “constitutional exception to the doctrine of

sovereign immunity.” Larson, 337 U.S. at 696; Danos v. Jones, 652 F. 3d 577, 583 (5th Cir. 2011)

(quoting Larson, 337 U.S. at 689) (“The ultra vires exception to sovereign immunity, . . . provides

that ‘where the officer’s powers are limited by statute, his actions beyond those limitations are


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considered individual and not sovereign actions.’”). Relief can be granted in those cases because

“the conduct against which specific relief is sought is beyond the officer’s powers and is, therefore,

not the conduct of the sovereign.” Larson, 337 U.S. at 690. “[E]ven if it is claimed that the officer

being sued has acted unconstitutionally or beyond his statutory powers,” a suit will fail, as one

against the sovereign, “if the relief requested cannot be granted by merely ordering the cessation of

the conduct complained of but will require affirmative action by the sovereign or the disposition of

unquestionably sovereign property.” Id. at 691 n.11 (citing North Carolina v. Temple, 134 U.S. 22,

26 (1890)).

       In Larson, the plaintiff filed suit against a federal officer seeking injunctive relief against him

in his official capacity, “and against ‘his agents, assistants, deputies, and employees and all persons

acting or assuming to act under their direction,” to prevent the sale or delivery of coal. 337 U.S. at

684–86. The officer moved to dismiss the complaint on grounds “that the court did not have

jurisdiction because the suit was one against the United States,” and the district court agreed and

dismissed the suit. Id. at 684–85, 689. After identifying the two ways that specific relief could be

sought directly against a federal officer, the Supreme Court found that the case did not fall within

either category because the plaintiff did not claim that the individuals from whom he was seeking

injunctive relief “were acting unconstitutionally or pursuant to an unconstitutional grant of power.”

Id. at 691, 702–03. It concluded that the relief sought was against the sovereign, and affirmed the

dismissal of the suit on that ground. Id. at 689.

       Here, Plaintiff alleges that CBP and Immigration and Customs Enforcement (ICE) policies

authorize border agents to detain electronic devices, “read and/or analyze the contents of such

devices without any basis for suspicion of wrongdoing,” and retain or share the information obtained


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 from those devices. (doc. 8 at 16-17.) Under these policies, Defendants’ agents allegedly “reviewed

 and copied the contents of his electronic devices,” and retained and disclosed the information

 gathered from his devices to other government agencies in violation of his constitutional rights. (Id.

 at 17-19.) Plaintiff does not allege any facts involving the named Defendants, however. (See id. at

 2-18.) He only vaguely references them and states that he believes they have either retained,

 disclosed, or received the information obtained from his cell phone, and asks for injunctive relief

 requiring the return or destruction of that information, as well as disclosures about that information.

 (Id. at 12, 17-18.) He does not allege or plead facts showing that they committed any acts under an

 unconstitutional statute or order, or that they engaged in any conduct that was beyond their statutory

 authority.4 See Larson, 337 U.S. at 689–91; Smith, 643 F. Supp. 2d at 1291–92; see also Unimex,

 Inc. v. U.S. Dept. of Hous. & Urban Dev., 594 F.2d 1060, 1062 (5th Cir. 1979) (noting that the

 exceptions to sovereign immunity did not apply because the plaintiff did not contend “that the basis

 for either official’s authority to act . . . [was] unconstitutional,” or that either acted beyond the

 powers conferred on them by statute); Adderley v. United States, No. 5:17-CV-01431-HNJ, 2018

 WL 3819722, at *6 (N.D. Ala. Aug. 10, 2018) (determining that the plaintiff did not plausibly plead

 that the federal officials engaged in acts beyond their authority or acted pursuant to an

 unconstitutional policy or statute); Kodonsky v. United States, No. 3:96-CV-2969-BC, 1997 WL

 457516, at *9 (N.D. Tex. Aug. 5, 1997) (quoting Larson, 337 U.S. at 693) (noting that the plaintiff

 did “not allege any material facts to support the proposition that the individual defendants acted

 outside the scope of their authority or that, ‘in committing that wrong, [were] not exercising the


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          In order to successfully allege that an officer’s actions were ultra vires, or beyond his statutory authority, “[t]he
complaint must allege facts sufficient to establish that the officer was acting ‘without any authority whatever,’ or without
any ‘colorable basis for the exercise of authority.’” Danos, 652 F.3d at 583 (quoting Pennhurst State Sch. & Hosp. v.
Halderman, 465 U.S. 89, 101 n.11 (1984)).

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powers delegated to him by the sovereign.’”). Accordingly, the exception to sovereign immunity

for suits seeking injunctive relief directly against officers in their official capacities does not apply

to permit Plaintiff to pursue his claims for injunctive relief against Defendants. See Adderley, 2018

WL 3819722, at *6–7 (finding that the plaintiff could not obtain injunctive relief where he did not

satisfy the requirements of the exception).

        Moreover, even if Plaintiff’s amended complaint can be read to allege that Defendants

engaged in acts beyond their statutory powers, or committed acts that were authorized by an

unconstitutional statute or order, his requests for injunctive relief would require affirmative action

by the sovereign. See Larson, 337 U.S. at 691 n.11; see also Dugan v. Rank, 372 U.S. 609, 620

(1963) (quoting Larson, 337 U.S. at 704) (“The general rule is that a suit is against the sovereign

. . . if the effect of the judgment would be ‘to restrain the Government from acting or to compel it

to act.”); Pavlov v. Parsons, 574 F. Supp. 393, 397 (S.D. Tex. 1983) (citing cases) (restating the

same). He asks that the Court order Defendants to return or destroy the information obtained from

his cell phone, disclose whether that information was disclosed to other government agencies, and

disclose what information, if any, was disclosed to other agencies. (See doc. 8 at 19-20.) These

requests effectively seek relief from the United States, rather than from Defendants. See Dugan, 372

U.S. at 620–21 (finding that a suit for injunctive relief to “prevent the storing and diverting of water

at [a] dam” was “in fact [a suit] against the United States”); Larson, 337 U.S. at 689 (agreeing that

a request for relief was against the sovereign where “it was asked that the court order [the

defendant], his agents, assistants, deputies and employees and all persons acting under their

direction, not to sell . . . [or] deliver [coal] to anyone other than the respondent.”). Although

Plaintiff’s suit is directed at federal officials, based on the relief he seeks, it “is barred, not because


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 it is a suit against [officers] of the Government, but because it is, in substance, a suit against the

 Government over which the [C]ourt, in the absence of consent, has no jurisdiction.” Larson, 377

 U.S. at 688; see Dugan, 372 U.S. at 620; Robertson v. Johnson, No. H-05-2190, 2006 WL 1118151,

 at *3 (S.D. Tex. Apr. 25, 2006) (citing Larson, 337 U.S. at 688) (finding that a suit against a federal

 officer in her official capacity was barred by sovereign immunity where the “suit [was] viewed as

 one against the United States.”).

             Because the exception does not apply and Plaintiff’s claims for injunctive relief against

 Defendants are barred by sovereign immunity, they should be dismissed with prejudice. Maibie,

 2008 WL 4488982, at *3 (dismissal with prejudice based on sovereign immunity is proper, “despite

 the fact that sovereign immunity deprives this court of subject matter jurisdiction”); Florance v.

 Buchmeyer, 500 F. Supp. 2d 618, 648 (N.D. Tex. 2007) (dismissing with prejudice claims that were

 barred by sovereign immunity).5

                                           III. RECOMMENDATION

             Plaintiff’s claims for injunctive relief against Defendants in their official capacities should

 be DISMISSED with prejudice.

             SO RECOMMENDED on this 18th day of October, 2018.



                                                                  ___________________________________
                                                                  IRMA CARRILLO RAMIREZ
                                                                  UNITED STATES MAGISTRATE JUDGE



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           Because the exception to sovereign immunity does not apply to permit Plaintiff to seek injunctive relief against
Defendants in their official capacities, it is unnecessary to reach the issue of whether the conduct of which he complains
violated the Constitution. Peltier v. Assumption Par. Police Jury, 638 F.2d 21, 22 (5th Cir. 1981) (citing cases in
recognizing that courts should “resolve federal constitutional claims only when a case cannot be decided on any other
basis.”).

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                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

        A copy of these findings, conclusions and recommendation shall be served on all parties in
the manner provided by law. Any party who objects to any part of these findings, conclusions and
recommendation must file specific written objections within 14 days after being served with a copy.
See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). In order to be specific, an objection must identify
the specific finding or recommendation to which objection is made, state the basis for the objection,
and specify the place in the magistrate judge's findings, conclusions and recommendation where the
disputed determination is found. An objection that merely incorporates by reference or refers to the
briefing before the magistrate judge is not specific. Failure to file specific written objections will
bar the aggrieved party from appealing the factual findings and legal conclusions of the magistrate
judge that are accepted or adopted by the district court, except upon grounds of plain error. See
Douglass v. United Servs. Automobile Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).



                                                       ___________________________________
                                                       IRMA CARRILLO RAMIREZ
                                                       UNITED STATES MAGISTRATE JUDGE




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